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     Eastern District of Washington
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 6 (509) 454-4425

 7                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WASHINGTON
 8

 9
     UNITED STATES OF AMERICA,                       1:23-CR-02036-MKD-1
10
                       Plaintiff,
11
                                                     AMENDED UNITED STATES’
12         v.                                        SENTENCING MEMORANDUM
13
     RONALD LEE RALSTON, JR.,
14

15
                       Defendant.

16

17         The United States of America, by and through Vanessa R. Waldref,
18
     United States Attorney for the Eastern District of Washington, and Todd M.
19

20 Swensen, Assistant United States Attorney, submits the following United States’

21 Sentencing Memorandum:

22
           I.    Offense Level & Criminal History:
23

24         The United States concurs with the Presentence Investigation Report
25 (PSR) that the minimum term of imprisonment here is 10 years in accordance

26
     with 21 U.S.C. §§ 841(a)(1), (b)(1)(A)(viii) and 846. See ¶ 239. The United
27

28

     UNITED STATES’ SENT. MEMO.                  1
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     States likewise does not object to the PSR with regards to the calculated base
 1

 2 offense level of 38 and Total Offense Level calculation of 35. See ¶ ¶ 42-51;

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     240. The United States also concurs with Probation’s assessment of Defendant’s
 4
     criminal history category of II. See ¶ 259. That said, the United States, in good
 5

 6 faith, entered into an agreement with the Defendant wherein the United States

 7
     agreed to recommend incarceration at the low-end of the Guidelines range,
 8

 9
     which at the time, the United States reasonably believed would be based on a

10 total base offense level of 33, and which the United States believed was a

11
     reasonable and sufficient sentence.
12

13
            II.    Departures:

14          Based on the United States’ agreement with the Defendant, the United
15
     States will be requesting a departure from the PSIR Guidelines range to the
16

17 agreed upon range of 151-188 months incarceration.

18          III.   18 U.S.C. § 3553(a):
19
            The United States has no Section 3553(a) information beyond what is
20

21 included in the PSR. The United States does not object to the guideline range

22 detailed in the PSR is accurate; however, because the United State agreed to

23
     recommend a low-end Guidelines range according to a total base offense level of
24

25 33, the United State will honor its agreement and recommend a sentence of 151

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     UNITED STATES’ SENT. MEMO.                2
        Case 1:23-cr-02036-MKD     ECF No. 68    filed 02/27/24   PageID.452 Page 3 of 3




     months’ incarceration. The United States believes this is a sufficient sentence but
 1

 2 not greater than necessary to comply with the purposes of 18 U.S.C. § 3553.

 3
            DATED this 27th day of February 2024.
 4

 5                                           VANESSA R. WALDREF
                                             United States Attorney
 6

 7

 8                                           TODD M. SWENSEN
                                             Assistant United States Attorney
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12                              CERTIFICATE OF SERVICE
13          I hereby certify that on February 27, 2024, I electronically filed the
14
     foregoing with the Clerk of the Court using the CM/ECF System, and a copy was
15

16 emailed to the counsel of record in this case: Ulvar Klein.

17

18

19

20                                           Todd M. Swensen
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     UNITED STATES’ SENT. MEMO.                 3
